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The Honorable James K. Bredar
U.S. District Court for the District of Maryland
101 W. Lombard Street Chambers 5A

Baltimore, MD 21201
March 27, 2025
~ Subject: Notice of Non-Reinstatement Following Mass Terminations at the Department of
Defense
Dear Judge Bredar,

I am writing to inform you that I was terminated from my probationary position as an Oversight
Editor at the Department of the Army’s Office of the Inspector General (DAIG) on Friday,
February 21, 2025, have yet to be reinstated or placed on administrative leave.

I have received no communication from the DoD, including a notice per your request for names
of terminated employees who have not been reinstated after the ruling my firing was illegal.

As one of the highest paid employees in my unit I was terminated using my probationary status
to illegally achieve the goals of a Reduction-in-Force. My termination letter stated, “this action is
in accordance with Title 5, Code of Federal Regulations (CFR), Part 315, Subpart H, to promote
“the efficiency of service.” >

The above regulation applies to competitive positions, but my position was in the excepted
service. Also, the referenced regulation has no requirement to, “promote the efficiency of

_ service.” These errors strongly indicate my termination was in no way about performance but
was rushed through using a template document provided by the Office of Personnel Management
(OPM) to follow an illegal diktat from OPM.

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In addition to others at DAIG, my termination was part of “light firings” of other probationary
employees across the agency that took place at the DoD since Feb 21. I know employees in this
category have been reinstated at DoD and at other agencies at issue in recent weeks.

Based on conversations in the office of my direct employer prior to Feb 21, it was widely
understood that DAIG had been ordered to do a budget reduction of 25% and was scrambling to
cut its work of probationary employees, of which it has very few.

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“ ‘am submitting: this. letter considering your recent order regarding lists of terminated employees
“Wiio have not béerifeinstated. I would greatly appreciate any assistance in my reinstatement.

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tu :33 Elizabeth R. Smith *¥!

